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                               UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

J.H., ET AL.                                                            CIVIL ACTION NO.

VERSUS                                                                  20-293-JWD-EWD

JOHN BEL EDWARDS, ET AL.

             TELEPHONE SCHEDULING CONFERENCE REPORT AND ORDER

           A telephone conference was held on November 9, 2020, before Magistrate Judge Erin

Wilder-Doomes regarding correspondence sent to the court from Plaintiff I.B.1 with the following

participants:

PARTICIPANTS:             Rebecca Ramaswamy                     John C. Walsh
                          Jason Yan                             Counsel for Defendant,
                          Nishi Lal Kumar                       John Bel Edwards
                          Eddie Keith
                          Counsel for Plaintiffs,               Kyle V. Miller
                          J.H., et al.                          Lemuel E. Montgomery, II
                                                                Counsel for Defendants,
                          Andrew Blanchfield                    Edward Dustin Bickham, et al.
                          Counsel for Louisiana Office
                          of Risk Management

           The parties discussed the Plaintiff’s request to excuse minor I.B. from participation in the

settlement conference scheduled for November 10, 2020. Counsel for defendants, Edward Dustin

Bickham, et al., confirmed no objection to excusing I.B. from participation, but disagrees that I.B.

has any viable claims remaining since all parties agree I.B. has been released from custody so that

any claim for injunctive relief is moot.

           IT IS ORDERED that I.B. is excused from personal participation at the November 10,

2020 settlement conference for good cause.

           IT IS FURTHER ORDERED that the parties shall confer prior to the November 10, 2020


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    R. Doc. 144.




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settlement conference to discuss the parameters of the claims to be addressed in the conference

and be prepared to report on this discussion at the outset of the settlement conference.

     Signed in Baton Rouge, Louisiana, on November 10, 2020.


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                                            ERIN WILDER-DOOMES
                                            UNITED STATES MAGISTRATE JUDGE
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